        Case 4:23-cv-04155-YGR Document 103-2 Filed 01/04/24 Page 1 of 2




 1 ERNEST GALVAN – 196065                          OREN NIMNI*
     KARA J. JANSSEN – 274762                       Mass. Bar No. 691821
 2   ADRIENNE SPIEGEL – 330482                     AMARIS MONTES*
     LUMA KHABBAZ – 351492                          Md. Bar No. 2112150205
 3   ROSEN BIEN                                    D DANGARAN*
     GALVAN & GRUNFELD LLP                          Mass. Bar No. 708195
 4   101 Mission Street, Sixth Floor               RIGHTS BEHIND BARS
     San Francisco, California 94105-1738          416 Florida Avenue N.W. #26152
 5   Telephone:    (415) 433-6830                  Washington, D.C. 20001-0506
     Email:        egalvan@rbgg.com                Telephone:    (202) 455-4399
 6                 kjanssen@rbgg.com               Email:        oren@rightsbehindbars.org
                   aspiegel@rbgg.com                             amaris@rightsbehindbars.org
 7                 lkhabbaz@rbgg.com                             d@rightsbehindbars.org

 8 SUSAN M. BEATY – 324048                         STEPHEN S. CHA-KIM*
   CALIFORNIA COLLABORATIVE FOR                     N.Y. Bar No. 4979357
 9 IMMIGRANT JUSTICE                               ARNOLD & PORTER KAYE SCHOLER LLP
   1999 Harrison Street, Suite 1800                250 West 55th Street
10 Oakland, California 94612-4700                  New York, New York 10019-9710
   Telephone:    (510) 679-3674                    Telephone: (212) 836-8000
11 Email:        susan@ccijustice.org              Email:      stephen.cha-kim@arnoldporter.com

12                                                 CARSON D. ANDERSON – 317308
                                                   ARNOLD & PORTER KAYE SCHOLER LLP
13                                                 3000 El Camino Real
                                                   Five Palo Alto Square, Suite 500
14                                                 Palo Alto, California 94306-3807
                                                   Telephone: (650) 319-4500
15                                                 Email:       carson.anderson@arnoldporter.com
                                                   *
16                                                     Admitted pro hac vice
     Attorneys for Plaintiffs
17
18                                    UNITED STATES DISTRICT COURT

19                      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

20
21 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,
22                                                         DECLARATION OF ERNEST
                        Plaintiffs,                        GALVAN IN SUPPORT OF
23                                                         PLAINTIFFS’ NOTICE REGARDING
                   v.                                      WITNESS TRANSPORTATION TO
24                                                         COURTHOUSE
   UNITED STATES OF AMERICA FEDERAL
25 BUREAU OF PRISONS et al.,                               Judge:   Hon. Yvonne Gonzalez Rogers

26                      Defendants.                        Trial Date:         None Set

27
28

     [4415249.1]                                                               Case No. 4:23-cv-04155-YGR
                                       DECLARATION OF ERNEST GALVAN
        Case 4:23-cv-04155-YGR Document 103-2 Filed 01/04/24 Page 2 of 2




 1                 I, Ernest Galvan, declare:
 2                 1.     I am an attorney duly admitted to practice before this Court. I am a partner
 3 in the law firm of Rosen Bien Galvan & Grunfeld LLP, counsel of record for Plaintiffs. I
 4 have personal knowledge of the facts set forth herein, and if called as a witness, I could
 5 competently so testify. I make this declaration based in support of Plaintiffs’
 6 Supplemental Notice Regarding Access to Attorney Visits.
 7                 2.     Attached hereto as Exhibit A is a true and correct copy of a Corrlinks
 8 message from witness and named plaintiff J.M. to my colleague Kara Janssen.
 9                 3.     Attached hereto as Exhibit B is a true and correct copy of an email chain
10 between my co-counsel Stephen Cha-Kim and Assistant United States Attorney Madison
11 Mattioli.
12                 I declare under penalty of perjury under the laws of the United States of America
13 that the foregoing is true and correct, and that this declaration is executed at San Francisco,
14 California this 4th day of January, 2024.
15
16                                                        /s/ Ernest Galvan
                                                          Ernest Galvan
17
18
19
20
21
22
23
24
25
26
27
28

     [4415249.1]                                         2                      Case No. 4:23-cv-04155-YGR
                                         DECLARATION OF ERNEST GALVAN
